
989 So.2d 96 (2008)
STATE ex rel. Felton THOMPSON
v.
STATE of Louisiana.
No. 2007-KH-2268.
Supreme Court of Louisiana.
August 29, 2008.
In re Thompson, Felton;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. F, No. 355-275; to the Court of Appeal, Fourth Circuit, No. 2007-K-1276.
*97 Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
